     Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 1 of 16



 1                                               The Honorable Robert J. Bryan
 2

 3

 4

 5

 6

 7

 8
                          UNITED STATES DISTRICT COURT
 9                       WESTERN DISTRICT OF WASHINGTON
10

11   STATE OF WASHINGTON,                   NO. 3:17-cv-05806-RJB

12                            Plaintiff,    GEO GROUP’S MOTION TO COMPEL

13   v.                                     NOTE ON MOTION CALENDAR:
                                            September 14, 2018
14   THE GEO GROUP, INC.,

15
                              Defendant.
16

17

18

19

20

21

22

23

24

25

26

27   STATE OF WASHINGTON V. GEO                    NORTON ROSE FULBRIGHT US LLP
     GROUP                                                Andrea L. D’Ambra
28   ECF CASE NO. 3:17-cv-05806-RJB                   1301 Avenue of the Americas
     GEO GROUP’S MOTION TO COMPEL                        New York, NY 10019
                                                       Telephone: (212) 318-3000
         Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 2 of 16



 1                                                 INTRODUCTION

 2            Discovery is a two-way street and the rules governing it apply to all parties – even the

 3   government. “When the government seeks affirmative relief, it is fundamentally unfair to allow it

 4   to evade discovery of materials that a private plaintiff would have to turn over.” E.E.O.C. v.

 5   California Psychiatric Transitions, 258 F.R.D. 391, 398 (E.D. Cal. 2009). Unfortunately here, that

 6   is exactly what the State is trying to do. Despite aggressively pressing GEO for voluminous

 7   documents and information, the State has made little-to-no effort to comply with its own obligations

 8   and has actively obstructed GEO’s efforts to defend itself. Given that the State is seeking tens of

 9   millions – if not hundreds of millions – of dollars in disgorgement of profits 1 from GEO, GEO must

10   be given the opportunity to defend itself and obtain information directly relevant to its affirmative

11   defenses. But the State is stonewalling.

12            First, the State is asserting an unreasonably narrow definition of the scope of its discovery

13   obligations. Despite representing “The State of Washington,” the Attorney General’s Office

14   (“AGO”) claims it does not have possession, custody or control of documents, nor knowledge of

15   facts related to State Agencies other than the AGO’s own files. This even includes the Department

16   of Labor & Industries, which the State specifically listed under the parties’ section in its complaint.

17   As detailed below, the courts are clear that the State is required to preserve and produce relevant

18   documents from State Agencies, not just the AGO’s own files.

19            Further, even under the more narrow scope asserted by the AGO, the State has still failed

20   comply with the discovery rules. The AGO admits that it has not made a reasonable inquiry into

21   information held by its own AGO subdivisions – including its subdivisions for the Department of

22   Labor and Industries, the Department of Corrections, or the Department of Social and Health

23   Services – even though GEO’s discovery requests specifically sought information from these AGO

24   divisions. At the same time, the AGO certified that the State had no responsive information from

25
     1
       GEO is in no way conceding that such damages would be appropriate, but as the State has not yet articulated a
26
     damage model, it is difficult to ascertain the extent of the damages sought.
27
         STATE OF WASHINGTON v. GEO GROUP                                   NORTON ROSE FULBRIGHT US LLP
         ECF CASE NO. 3:17-CV-05806-RJB                                            Andrea L. D’Ambra
28
         GEO GROUP’S MOTION TO COMPEL                        -1-               1301 Avenue of the Americas
                                                                                  New York, NY 10019
                                                                                Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 3 of 16



 1
     these divisions. Without a reasonable inquiry of the above-mentioned departments, this response
 2
     is a clear and troubling violation of Rule 26(g)(1).
 3
            Finally, the State also refuses to provide the names of custodians from whom it collected
 4
     specific documents.     Instead, the AGO provided (after multiple meet-and-confer efforts) a
 5
     spreadsheet that lists a series of cryptic abbreviations such as “AGO,” “AGO ADM,” and “AGO
 6
     CRU.” This is problematic for two reasons. First, it makes it impossible for GEO to determine
 7
     when individuals at the AGO were put on notice of the work program at the NWDC, a component
 8
     of GEO’s defense of laches. Second, without custodian information, it is hard to determine the
 9
     sufficiency of the State’s discovery efforts. As discussed below, this is information required to be
10
     provided under FRCP 34, and is no less than the State itself requested for GEO’s productions.
11
           CERTIFICATE OF COMPLIANCE, FED. R. CIV. P. 26(C) AND L.C.R. 26(C)
12
            In compliance with Fed. R. Civ. P. 26(c) and L.C.R. 26(c), GEO certifies that it has met and
13
     conferred with the State’s counsel in an effort to resolve the dispute without court action, prior to
14
     the filing of this motion. Specifically, counsel for GEO and counsel for the State have met and
15
     conferred telephonically eight times – on April 30, May 25, June 12, June 15, June 25, June 27,
16
     August 8, and August 21, 2018 – regarding various discovery issues, including the State’s
17
     obligation to produce records in the possession of State agencies and the entirety of the AGO’s
18
     office, and metadata deficiencies in its productions. Declaration of Andrea L. D’Ambra in Support
19
     of Defendant’s Motion to Compel (“D’Ambra Decl.”) at ¶ 3-6.
20
                                                   FACTS
21
            GEO served its first set of discovery, including requests for production, on January 5, 2018.
22
     The State responded to State’s requests on February 5, 2018. D’Ambra Decl. at ¶ 2, Ex. 1. GEO
23
     received the State’s First production of documents of 239 documents on April 3, 2018. D’Ambra
24
     Decl. at ¶ 2. Despite the size of this production, the April 3 documents were produced in an
25
     unusable form, absent any metadata. On April 11, the State belatedly provided GEO with a list of
26
     its own production specifications, including requiring documents to be provided with custodian and
27
      STATE OF WASHINGTON v. GEO GROUP                             NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                      Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                    -2-             1301 Avenue of the Americas
                                                                         New York, NY 10019
                                                                       Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 4 of 16



 1
     author metadata. D’Ambra Decl. at ¶ 3. GEO provided the State with a list of its own production
 2
     specifications on April 27, 2018. D’Ambra Decl. at ¶ 3, Ex. 2 at 3-6. The State agreed to comply
 3
     with these specifications in a May 2, 2018 letter. Id. at ¶ 3. The State provided a re-production of
 4
     these documents on June 6, 2018, the majority of which were produced without custodian
 5
     information or author field data. Id.
 6
            On June 22, 2018, the State informed GEO for the first time that “[t]he Civil Rights Unit of
 7
     the Washington State Attorney General’s Office . . . does not control documents or information
 8
     from any other units or any of the State Agencies those units represent . . .” D’Ambra Decl. at ¶ 4.
 9
     During a meet and confer on June 27, 2018, counsel for the State reversed course, admitting that it
10
     did have control over documents within the AGO beyond the CRU division, but that the State’s
11
     search and collection efforts thus far had been limited to the CRU division of the AGO. D’Ambra
12
     Decl. at ¶ 4. On June 28, 2018 the State confirmed its stance that it controlled information held by
13
     all divisions of the AGO, but did not control State Agencies. D’Ambra Decl. at ¶ 4, Ex. 3 at 1 (July
14
     28, 2018 Letter).
15
            GEO served its second set of discovery, including requests for production, requests for
16
     admission and additional interrogatories, on July 2, 2018. The State responded to this discovery
17
     on August 1, 2018. D’Ambra Decl. at ¶ 5, Ex. 4-5. In its responses, the State maintained its position
18
     that documents possessed by State agencies are outside the control of the State of Washington and
19
     the Attorney General’s Office, but stated that “[w]ithout waiving any objection, Washington has
20
     no documents responsive to this Request.” See RFP Nos. 46, 51-63. On August 20, 2018, the State
21
     informed GEO that it had “not searched the Attorney General’s Office for documents responsive
22
     to GEO’s Requests for Production Nos. 46 or 51-63.” D’Ambra Decl. at ¶ 6. During an August
23
     21 meet and confer GEO asked how the State could say it had no documents in its possession, if it
24
     had never searched for documents, but the State did not respond. D’Ambra Decl. at ¶ 6. Moreover,
25
     the State informed GEO that it had not searched for documents in the possession of AGO divisions
26
     that represent State agencies, and instead argued that it should not be required to search for such
27
      STATE OF WASHINGTON v. GEO GROUP                             NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                      Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                   -3-              1301 Avenue of the Americas
                                                                         New York, NY 10019
                                                                       Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 5 of 16



 1
     documents because they would be privileged or covered by the work product doctrine. Id. GEO’s
 2
     counsel provided examples of documents that would not be covered by either privilege or the work
 3
     product doctrine, such as executed contracts, documents received from or sent to outside parties,
 4
     and documents produced by the State in other litigation. Id.
 5
            After nearly two months of negotiations and multiple discussions on why custodian
 6
     information was necessary, the State finally agreed to provide GEO with custodian metadata
 7
     information. D’Ambra Decl. at ¶ 7. However, it was not until August 20, 2018 that the State
 8
     informed GEO that it would give GEO a spreadsheet with the custodian information, instead of a
 9
     typical production with a load file, in accordance with the April 27, 2018 production specifications.
10
     The State provided GEO with an excel spreadsheet containing information on the first production
11
     on August 22, 2018. That same day, the State also produced an additional 238 documents. The
12
     “custodian” data provided in the excel spreadsheet for the first production identified documents
13
     from only three ‘divisions’ in the Attorney General’s Office – the “AGO,” the “AGO CRU” and
14
     the “AGO ADM.” D’Ambra Decl. at ¶ 7, Ex. 6. The custodian data for the second production
15
     similarly listed documents only from these three divisions at the AGO. D’Ambra Decl. at ¶ 7, Ex.
16
     7. No names of actual individual custodians were provided.
17
                                          LEGAL AUTHORITY
18
            “A party seeking discovery may move for an order compelling disclosure or discovery.”
19
     Fed. R. Civ. P. 37(a)(1). “The moving party bears the burden of demonstrating that the information
20
     it seeks is relevant and that the responding party's objections lack merit.” Hancock v. Aetna Life
21
     Ins. Co., 321 F.R.D. 383, 390 (W.D. Wash. 2017) (citing Bluestone Innovations LLC v. LG Elecs.,
22
     Inc., No. C1301770SI (EDL), 2013 WL 6354419, at *2 (N.D. Ca. Dec. 5, 2013)).
23
            Federal Rule of Civil Procedure 34(a) requires parties to produce documents in their
24
     “possession, custody or control.” The party seeking production of the documents bears the burden
25
     of proving that the opposing party has such control.” U.S. v. Int’l Union of Petroleum, 870 F.2d at
26

27
      STATE OF WASHINGTON v. GEO GROUP                              NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                       Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                   -4-               1301 Avenue of the Americas
                                                                          New York, NY 10019
                                                                        Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 6 of 16



 1
     1452 (citing Norman v. Young, 422 F.2d 470, 472-73 (10th Cir. 1970)). “Control is defined as the
 2
     legal right to obtain documents upon demand.” Id. at 1452 (9th Cir. 1989).
 3
            Washington State is the named party in this case. The State has control over information
 4
     possessed by State agencies. See Wilson v. Washington, No. C16-5366 BHS, 2017 WL 518615
 5
     (W.D. Wash. Feb. 8, 2017) (compelling the State of Washington to produce citizen complaints and
 6
     investigatory files held by State agencies). The AGO also has the legal right to obtain information
 7
     from State agencies as a legal adviser for the State. See State v. Reed, 429 P.2d 870 (Wash. 1967).
 8
     Courts in the Ninth Circuit have also found that the AGO has control on the basis of its relationship
 9
     with State agencies. Bovarie v. Schwarzenegger, No. 08CV1661 LAB NLS, 2011 WL 767249, at
10
     *5 (S.D. Cal. Feb. 25, 2011) (finding that the AGO had control over Plaintiff’s medical records in
11
     the possession of the California Department of Corrections and Rehabilitation (“CDCR”)).
12
                                               ARGUMENT
13
           I.       GEO Seeks Relevant Information Pertaining To Its Affirmative Defenses
14
             The State has objected to the production of documents and information, including those
15
     pertaining to the Department of Labor and Industries (“L&I”), the Department of Corrections
16
     (“DOC”), the Department of Social and Health Services (“DSHS”), and the Governor’s Office, on
17
     the basis that it does not have possession, custody, or control of this information, and the
18
     information is not relevant. The State has also objected to searching or producing documents held
19
     by AGO subdivisions that represent these entities, on the basis that these documents (which the
20
     State has not searched or reviewed) are entirely privileged. GEO seeks this information because it
21
     is extremely relevant to GEO’s affirmative defenses of unclean hands and laches. See Ex. 1,
22
     Requests for Production Nos. 13, 33-34, Interrogatory No. 13; Ex. 4, Requests for Production Nos.
23
     46, 51-63; Ex. 5, Requests for Admission Nos. 1-3, 5-7, 9-16, 33-37.
24
            GEO alleged that the State has unclean hands because the State, through its agencies, the
25
     DOC and DSHS, and through its delegated authorities to State municipal jails, operates work
26
     programs that pay rates far below the State minimum wage. See, e.g., RFP 57 (“Documents
27
      STATE OF WASHINGTON v. GEO GROUP                             NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                      Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                   -5-              1301 Avenue of the Americas
                                                                         New York, NY 10019
                                                                       Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 7 of 16



 1
     sufficient to show all amounts paid to prisoners/detainees incarcerated or detained by Washington
 2
     State who participated in offender work programs since 2005.”). Information such as compensation
 3
     of persons detained at State work programs, State work program policies (RFP 51, 52, 57), and
 4
     State contracts with entities providing detention services in Washington (RFP 53), would all be
 5
     relevant to GEO’s allegation that the State pays prisoners and detainees a subminimum wage.
 6
            GEO also asserted that the State had unduly delayed in pursuing this lawsuit, as for twelve
 7
     years preceding this complaint, the State, through the AGO, L&I or the Governor’s Office, had
 8
     never pursued an enforcement action against GEO despite knowing about its Voluntary Work
 9
     Program. See, e.g., RFA 1 (“Admit that the State has not previously sought to enforce the Minimum
10
     Wage Act or bring unjust enrichment claims against GEO or ICE for detainees at the Northwest
11
     Detention Center.”). Information such as the lack of State enforcement actions against GEO (RFA
12
     1, 3), the lack of notice to GEO or ICE that the minimum wage act applies to GEO (Interrogatory
13
     13, RFA 5), and the State’s knowledge of the Voluntary Work Program (RPD 34), would all be
14
     relevant to GEO’s allegation that the State has wrongfully delayed in bringing suit against GEO.
15
     II.    The State Has Failed To Produce Information Under Its Control Or In Its Possession
16
                    A.     The State Has The Legal Right to Obtain Information In the Possession
17                  of State Agencies.

18          The State asserts that it does not have possession, custody or control of State agency

19   information, despite admitting “the Washington Attorney General’s Office’s client in this lawsuit

20   is the State of Washington.” RFA 8. This case is not styled “Attorney General of the State of

21   Washington, Civil Rights Unit v. The GEO Group.” The State of Washington is the named party.

22          The State of Washington has control over information in the possession of State agencies.

23   Wilson v. Washington, No. C16-5366 BHS, 2017 WL 518615 (W.D. Wash. Feb. 8, 2017). In

24   Wilson v. Washington, Plaintiff sued the State of Washington, the DSHS, and Special Commitment

25   Center (“SCC”) employee Dr. Sziebert, alleging he was unconstitutionally detained at the SCC.

26   Plaintiff sought two categories of documents from Defendants: 1) citizen complaints regarding civil

27
      STATE OF WASHINGTON v. GEO GROUP                            NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                     Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                  -6-              1301 Avenue of the Americas
                                                                        New York, NY 10019
                                                                      Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 8 of 16



 1
     confinement by the State of Washington, and 2) State investigations of Dr. Sziebert. Defendants
 2
     objected on the basis that it lacked control over agencies not named as parties. The Wilson court
 3
     rejected this argument, finding that “[t]he State offers no substantive explanation why it cannot
 4
     provide” complaints filed against the State. Id. at *3. Moreover, “the State [has] . . . authority to
 5
     obtain documents regarding any State Agency investigation of Doctor Sziebert.” Id. The State
 6
     has the authority to obtain information from State agencies, and must produce this information.
 7
                    B.     As the State’s Legal Adviser, the AGO May Obtain Information From
 8                  State Agencies.

 9          To the extent the AGO argues that its control is limited to the AGO, this is contrary to

10   Washington law. The AGO represents the State of Washington in this litigation in a parens patriae

11   capacity, and may obtain information from State agencies by virtue of its role as legal adviser to

12   the State. See State v. Reed, 429 P.2d 870, 872 (Wash. 1967). In State v. Reed, the State of

13   Washington filed a motion to compel Defendant’s medical records, which were also in the

14   possession of a state hospital. The Supreme Court of Washington found that the State’s Motion

15   was inappropriate, because the State could have “proceed[ed] along the lines available to the state

16   for obtaining evidence by other means” instead of “demand[ing] that the defendant supply it.” Id.

17   at 872. Citing RCW 43.10.030 and RCW 43.10.040, the Reed court argued that the State could

18   have had the AGO request these documents from the state-run hospital because Attorney Generals

19   are “adviser[s] on legal matters” to state agencies. Id. Other courts applying the legal right test

20   have found that an AG’s control over State entity documents stems from its statutory power to

21   represent state agencies. Bd. of Educ. of Shelby Cty., Tenn. v. Memphis City Bd. of Educ., No. 2:11-

22   CV-02101-SHM, 2012 WL 6003540, at *3 (W.D. Tenn. Nov. 30, 2012) (AGO representing State

23   of Tennessee had control over General Assembly documents “[b]ased upon these statutory duties

24   to handle “all legal services,” “direct and supervise” all litigation, and “represent” the State of

25   Tennessee.). Pursuant to statutory authority as outlined in Reed, the AGO may request documents

26   from State agencies under its statutory power to represent them as an adviser on legal matters.

27
      STATE OF WASHINGTON v. GEO GROUP                             NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                      Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                   -7-              1301 Avenue of the Americas
                                                                         New York, NY 10019
                                                                       Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 9 of 16



 1
            The AGO also has control over State agency information because it possesses the “requisite
 2
     relationship” or “affiliation” with State agencies. Ochotorena v. Adams, No. 1:05-CV-01524-
 3
     LJODLB, 2010 WL 1035774, at *3 (E.D. Cal. Mar. 19, 2010) (quoting Allen v. Woodford, 2007
 4
     WL 309945, at *2 (E.D. Cal. Jan. 30, 2007)). In Ochotorena v. Adams, the California AGO
 5
     represented officers employed with the California Department of Corrections and Rehabilitation
 6
     (“CDCR”), but resisted discovery of documents possessed by the CDCR. 2010 WL 1035774 (E.D.
 7
     Cal. Mar. 19, 2010). The Ochotorena court rejected the AGO’s claimed lack of control: “[i]t is this
 8
     Court’s experience that either individual defendants who are employed by CDCR and/or the
 9
     Attorney General can generally obtain documents, such as the ones at issue here, from CDCR by
10
     requesting them. If that is the case, then, based on their relationship with CDCR, they have
11
     constructive control over the requested documents and the documents must be produced.” Id. at
12
     *3. Courts in the Ninth Circuit have similarly ruled that the Attorney General’s Office may
13
     generally obtain documents from state entities. Bovarie v. Schwarzenegger, No. 08CV1661 LAB
14
     NLS, 2011 WL 767249, at *5 (S.D. Cal. Feb. 25, 2011) (finding that the AGO had control over
15
     Plaintiff’s medical records in the possession of the CDCR); Alexander v. California Dep't of Corr.,
16
     No. 2:08-CV-2773, 2010 WL 4069953, at *3 (E.D. Cal. Oct. 18, 2010) (authorizing subpoena duces
17
     tecum on California AGO for non-party California Department of Justice documents).
18
            Case law and common sense show a relationship between the Washington AGO and
19
     Washington State agencies such as L&I and DOC. First, as described above, the Washington
20
     Supreme Court and courts in the Ninth Circuit have found that the State or the AGO has control
21
     over information held by State agencies. The Washington AGO contains legal divisions that
22
     specifically represents and advises State agencies. See, e.g., https://www.atg.wa.gov/corrections
23
     (“Corrections Division staff represents and advises the Department of Corrections . . .”);
24
     https://www.atg.wa.gov/labor-industries (“The Labor and Industries Division represents and
25
     advises the Department of Labor and Industries regarding . . . questions about fair wages and
26
     prevailing wage requirements . . .”). The State has provided GEO with no “factual support for the
27
      STATE OF WASHINGTON v. GEO GROUP                            NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                     Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                  -8-              1301 Avenue of the Americas
                                                                        New York, NY 10019
                                                                      Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 10 of 16



 1
     assertion that, in spite of their relationship to [State agencies], they do not have possession, custody
 2
     or control of the requested documents.” See Woodall v. California, No. 1:08-CV-01948-OWW,
 3
     2010 WL 4316953, at *6 (E.D. Cal. Oct. 22, 2010) (ordering AGO of the State of California to
 4
     produce CDCR documents, unless it can “provide factual support.”).
 5
              At the very least, the State is obligated to exhaust all practical means at its disposal by
 6
     making a request of these agencies, before claiming that it does not have control over State agency
 7
     information. See Maria Del Socorro Quintero Perez, CY v. United States, No. 13CV1417-WQH-
 8
     BGS, 2016 WL 705904, at *5 (S.D. Cal. Feb. 23, 2016) (Defendant, a DHS employee prohibited
 9
     by Touhy from disclosing documents, “had a duty to make a request of [DHS] . . . before stating
10
     that he lacked possession, custody or control.”). The State has done nothing to attempt to obtain
11
     documents from other State agencies, and has not even submitted a request to L&I, DOC, DSHS,
12
     or the Governor’s Office in response to GEO’s requests.
13
                     C.    The State Represents the State of Washington and the Department of
14                   Labor and Industries In This Litigation, And Cannot Shirk Its Discovery
                     Obligations By Limiting Discovery To The Attorney General’s Office
15
              Although the State claims that it has no control over State agency information (which GEO
16
     disputes), at the very least the State has control over the Washington State Department of Labor
17
     and Industries. The State may not simultaneously enforce laws and regulations enforced or
18
     promulgated by L&I, and shirk its responsibility to produce information in L&I’s possession.
19
              The State has asserted that because the State of Washington is the client in this litigation, it
20
     only has an obligation to produce information within the possession, custody, or control of the
21
     AGO. Even if this Court found that a narrower standard applied, GEO would certainly be entitled
22
     to information held by L&I. In United States v. Novartis Pharm. Corp., defendant sought to compel
23
     eleven state plaintiffs to produce information from all of their agencies. The court rejected going
24
     so far, instead compelling production from the agency “at issue” for each state, defined as the
25
     “agencies that run each state’s Medicaid program.” 2014 WL 6655703, at *10 (S.D.N.Y. Nov. 24,
26
     2014).    Although case law outside the Ninth Circuit is less than persuasive on this Court,
27
      STATE OF WASHINGTON v. GEO GROUP                                NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                         Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                      -9-              1301 Avenue of the Americas
                                                                            New York, NY 10019
                                                                          Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 11 of 16



 1
     nevertheless, under this standard, GEO would be entitled to information held by L&I because L&I
 2
     is clearly the agency “at issue” in this litigation. L&I has an interest in and connection to the claims
 3
     or defenses in this litigation, namely, the enforcement of minimum wage laws. Similarly, in New
 4
     York ex rel. Boardman v. Nat'l R.R. Passenger Corp., the Northern District of New York found that
 5
     although the AGO was representing the State of New York’s interests, it was doing so under the
 6
     authority of the Department of Transportation, which had “the authority to protect or defend its
 7
     constitutional and statutory mandates” under the circumstances of the case. 233 F.R.D. 259, 265
 8
     (N.D.N.Y. 2006). Although GEO again disagrees that it is not entitled to relevant information held
 9
     by each of the State’s agencies, GEO would be entitled to L&I documents under this standard. The
10
     AGO has brought this action as the chief legal adviser to the State of Washington for “the
11
     enforcement of minimum wage laws.” Dkt. 1-1 ¶ 3.5 at p. 3. L&I also has the statutory authority
12
     to “adopt and implement rules to carry out and enforce” minimum wage laws. RCW 49.46.810.
13
     Moreover, in its complaint, under the Parties Section, the State describes L&I as a “state agency”
14
     that “enacts rules and operates enforcement programs to help ensure compliance with the State’s
15
     wage laws.” Dkt. 1-1 ¶ 3.2 at p. 2. The State has an obligation to produce information in the
16
     possession of L&I. The State illogically asserts that it has the power to enforce a minimum wage
17
     claim, but has no obligation to produce information possessed by the State agency that enforces
18
     Washington’s minimum wage law.
19
                    D.     The State Has Failed To Search For And Produce Documents In The
20                  Possession of the Attorney General’s Office

21          Documents located outside of the Civil Rights Unit (“CRU”) of the AGO are likely to

22   contain information relevant to GEO’s affirmative defenses. As a result, GEO has repeatedly

23   requested documents possessed by divisions of the AGO tasked with representing State agencies

24   such as the DOC and L&I in litigation. Although the State previously stated that it had searched

25   the entire AGO for relevant documents responsive to GEO’s first set of requests, the State’s own

26   representations suggest this is false. The State admitted on June 28 that it had not searched for

27
      STATE OF WASHINGTON v. GEO GROUP                               NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                        Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                    - 10 -            1301 Avenue of the Americas
                                                                           New York, NY 10019
                                                                         Telephone: (212) 318-3000
         Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 12 of 16



 1
     documents outside the CRU. D’Ambra Decl. at ¶ 4. When pressed on this issue, the State admitted
 2
     that there was “no value” in searching for documents in the possession of AGO divisions that
 3
     represent State agencies, because the documents would all be work product. The State reaffirmed
 4
     this position even after GEO specified numerous categories of nonprivileged documents likely in
 5
     the possession of these divisions, including executed contracts. 2 D’Ambra Decl. at ¶ 6. Finally,
 6
     the State’s deficient custodial metadata indicates that the State has only produced documents from
 7
     three locations within the AGO, the CRU and the ADM, and the “AGO.”
 8
              The AGO is required to conduct a “reasonable inquiry” to determine whether it has
 9
     documents responsive to GEO’s requests. Fed. R. Civ. P. 26(g). The State signed a verification to
10
     the responses to GEO’s First and Second Set of Requests that it had conducted a reasonable inquiry,
11
     but did not even conduct searches of documents within the entirety of the AGO’s office. See
12
     Mancia v. Mayflower Textile Servs. Co., 253 F.R.D. 354, 358 (D. Md. 2008) (Rule 26(g) “was
13
     enacted over twenty-five years ago to bring an end to the equally abusive practice of objecting to
14
     discovery requests . . . without a factual basis.”). Based on the State’s responses and objections,
15
     the State has done no due diligence to determine whether it has responsive documents located
16
     within other divisions of the AGO. Even if this Court finds that the AGO does not have control
17
     over other State agencies, “[c]learly, the Attorney General has control over documents within all
18
     divisions of [his] office,” and must produce “documents [obtained] from other agencies by virtue
19
     of having represented those agencies in separate litigation.” Com. v. Ortho-McNeil-Janssen
20
     Pharm., Inc., 2012 WL 5392617, at *4 (Mass. Super. Oct. 5, 2012).
21
     III.     The State Has Failed To Produce Documents Containing Metadata In The Ordinary
22            Course of Business
23            Federal Rule of Civil Procedure 34(b)(2)(E)(i)-(ii) requires parties to produce documents

24   either as they were kept “in the usual course of business” or to organize and label them to

25
     2
      The AGO approved the form of a contract executed between GEO and the State that required a voluntary work
26
     program paying at most $2 a day, but this contract has not been produced by the State. Dkt. 107, Ex. 7.
27
         STATE OF WASHINGTON v. GEO GROUP                                NORTON ROSE FULBRIGHT US LLP
         ECF CASE NO. 3:17-CV-05806-RJB                                         Andrea L. D’Ambra
28
         GEO GROUP’S MOTION TO COMPEL                     - 11 -            1301 Avenue of the Americas
                                                                               New York, NY 10019
                                                                             Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 13 of 16



 1
     correspond to the categories in the request. Courts have long held that to meet this requirement,
 2
     parties should produce custodian information. See Hullinger v. Anand, 2016 WL 7444620, at *9,
 3
     *15 (C.D. Cal. Aug. 19, 2016) (ordering production of custodian information); City of Colton v.
 4
     Am. Promotional Events, Inc., 277 F.R.D. 578, 584 (C.D. Cal. 2011) (identifying “custodian
 5
     information . . . among others” as “basic identifying metadata fields . . . all of which would be
 6
     readily apparent if the ESI was produced as kept in the usual course of business.”). This is because
 7
     documents kept in the usual course of business should “at a minimum” identify the origin or
 8
     “provenance” of a document, and provide “context as to their meaning.” City of Colton at 585.
 9
            None of the 477 documents produced by the State were produced with adequate custodian
10
     information, as they list only the division within the AGO where documents were pulled, instead
11
     of identifying individual custodians. Ex 6-7. This means one of two things: either the State only
12
     collected from noncustodial data sources, or it did collect from individual custodians but is
13
     obscuring that information. This calls into question whether the State has complied with its
14
     obligation to identify and collect from individual custodians. Moreover, GEO requires adequate
15
     custodian metadata because it contains information about who has access to documents, uses
16
     documents, and has knowledge of documents, regardless of whether they were authored by them.
17
     With this information, GEO could determine when individuals were put on notice concerning
18
     GEO’s administration of the VWP, an essential component of its claims and defenses. Dkt 34 ¶
19
     12.4 (“Washington’s agencies and officials have known about the federal Voluntary Work Program
20
     at NWDC for many years, but have not notified GEO or ICE that the program establishes an
21
     employment relationship or requires paying a minimum wage.”). The State’s refusal to reproduce
22
     its production with custodian metadata is surprising considering its own production specifications,
23
     which requested that GEO to organize documents “by custodian” – essentially custodian metadata
24
     information. GEO is not asking the State to do more than the State has asked of GEO.
25
                                              CONCLUSION
26
            For the above reasons, the Court should grant GEO’s Motion to Compel.
27
      STATE OF WASHINGTON v. GEO GROUP                            NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                     Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                  - 12 -           1301 Avenue of the Americas
                                                                        New York, NY 10019
                                                                      Telephone: (212) 318-3000
     Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 14 of 16



 1   Dated: August 30, 2018                 NORTON ROSE FULBRIGHT US LLP
 2

 3                                          /s/ Andrea L. D’Ambra_________________
                                            Andrea L. D’Ambra
 4                                          1301 Avenue of the Americas
                                            New York, NY 10019
 5                                          Telephone: (212) 318-3000
                                            Facsimile: (212) 318-3400
 6                                          andrea.dambra@nortonrosefulbright.com
 7
                                            NORTON ROSE FULBRIGHT US LLP
 8                                          Charles A. Deacon
                                            300 Convent St.
 9                                          San Antonio, Texas 78205
                                            Telephone: (210) 270-7133
10
                                            Facsimile: (210) 270-7205
11                                          charlie.deacon@nortonrosefulbright.com

12                                          NORTON ROSE FULBRIGHT US LLP
                                            Mark Emery
13                                          799 9th Street NW, Suite 1000
                                            Washington, DC 20001-4501
14
                                            Telephone: (202) 662-0210
15                                          Facsimile: (202) 662-4643
                                            mark.emery@nortonrosefulbright.com
16
                                            III BRANCHES LAW PLLC
17                                          Joan K. Mell, WSBA #21319
                                            1019 Regents Blvd. Ste. 204
18
                                            Fircrest, WA 98466
19                                          253-566-2510 (P)
                                            281-664-4643 (F)
20                                          joan@3brancheslaw.com
21                                          GREENBERG TRAURIG, LLC
                                            Scott A. Schipma
22
                                            2101 L Street NW, STE 100
23                                          Washington, DC 20037
                                            (202)-313-3141
24                                          schipmas@gtlaw.com
25                                          ATTORNEYS FOR DEFENDANT
26                                          THE GEO GROUP, INC.

27   STATE OF WASHINGTON v. GEO GROUP                NORTON ROSE FULBRIGHT US LLP
     ECF CASE NO. 3:17-CV-05806-RJB                         Andrea L. D’Ambra
28   DEFENDANT THE GEO GROUP, INC.’S    - 13 -          1301 Avenue of the Americas
     MOTION TO COMPEL                                      New York, NY 10019
                                                         Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 15 of 16



 1                                    CERTIFICATE OF SERVICE
 2          I, Susana Medeiros, hereby certify as follows:
 3
            I am over the age of 18, a resident of New York County, and not a party to the above
 4
     action. I certify that all participants in the case are registered CM/ECF users and that service will
 5
     be accomplished by the CM/ECF system. On August 30, 2018, I electronically served the above
 6

 7   Motion to Compel via CM/ECF to the following:

 8   Office of the Attorney General
     La Rond Baker, WSBA No. 43610
 9
     Marsha Chien, WSBA No. 47020
10   800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
11
     LaRondB@atg.wa.gov
12   MarshaC@atg.wa.gov

13   Norton Rose Fulbright US LLP
14   Charles A. Deacon (Pro Hac Vice)
     300 Convent St.
15   San Antonio, TX 78205
16   (210)-270-7133
     charlie.deacon@nortonrosefulbright.com
17

18   Norton Rose Fulbright US LLP
     Mark Emery (Pro Hac Vice)
19   799 9th St. NW, Suite 1000
20   Washington, DC 20001-4501
     (202)-662-0210
21   mark.emery@nortonrosefulbright.com
22
     III Branches Law, PLLC
23   Joan K. Mell, WSBA #21319
24   1019 Regents Blvd. Ste. 204
     Fircrest, WA 98466
25   253-566-2510 (P)
26   281-664-4643 (F)
     joan@3brancheslaw.com
27    STATE OF WASHINGTON v. GEO GROUP                             NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                      Andrea L. D’Ambra
28    DEFENDANT THE GEO GROUP, INC.’S                - 14 -           1301 Avenue of the Americas
      MOTION TO COMPEL                                                   New York, NY 10019
                                                                       Telephone: (212) 318-3000
      Case 3:17-cv-05806-RJB Document 113 Filed 08/30/18 Page 16 of 16



 1   Greenberg Traurig, LLP
     Scott A. Schipma
 2
     2101 L Street, N.W.
 3   Washington, DC 20037
     (202)-331-3141
 4
     schipmas@gtlaw.com
 5
            I certify under penalty of perjury under the laws of the State of Washington that the above
 6

 7   information is true and correct.

 8          DATED this 30th day of August, 2018 at New York, New York.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
      STATE OF WASHINGTON v. GEO GROUP                           NORTON ROSE FULBRIGHT US LLP
      ECF CASE NO. 3:17-CV-05806-RJB                                    Andrea L. D’Ambra
28
      GEO GROUP’S MOTION TO COMPEL                 - 15 -           1301 Avenue of the Americas
                                                                       New York, NY 10019
                                                                     Telephone: (212) 318-3000
